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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

MATTHEW PENNING,

               Plaintiff,                             Case No. 1:12-cv-1009

v.                                                    HON. ROBERT J. JONKER

DEBT MANAGEMENT PARTNERS
LLC, ADAM DONALD MARCH,
ACS RECOVERY INC., MATTHEW
W. CLASS and SEAN IAN ROILL,

            Defendants.
______________________________/

                                     Stipulation of Dismissal

       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, plaintiff

Matthew Penning, through his attorney of record, and defendants Debt Management Partners

LLC and Adam Donald March, through their attorneys of record, being all of the parties who

have appeared in this action, stipulate to the immediate dismissal of this action as to both of these

defendants, with prejudice, and with no award of costs or attorney fees to any party.

Dated: November 15, 2012                      /s/ Phillip C. Rogers
                                              Phillip C. Rogers (P34356)
                                              Attorney for Plaintiff
                                              40 Pearl Street, N.W., Suite 336
                                              Grand Rapids, Michigan 49503-3026
                                              (616) 776-1176
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Dated: November 15, 2012           /s/ Lawrence C. Atorthy
                                   Lawrence C. Atorthy (P44751)
                                   Kaufman, Payton & Chapa, P.C.
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